896 F.2d 1366Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Peter Emmanuel BERNARD, Plaintiff-Appellant,v.SUPREME COURT OF VIRGINIA;  Robert H. Anderson, III,Assistant Attorney General, Defendants-Appellees.
    No. 89-6804.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 31, 1989.Decided:  Feb. 13, 1990.
    
      Peter Emmanuel Bernard, appellant pro se.
      Before DONALD RUSSELL, SPROUSE and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Peter Emmanuel Bernard appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S.1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    